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Jeffrey Cox (26953)
Dwayne Farnsworth (13209)
COX LAW OFFICES

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Gilbert, Arizona 85299
Tel:(480) 820-3600

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Attorney for Debtor
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF ARIZONA
In re ) In Proceedings Under
) Chapter Seven
DANIELLE KRISTINE LAFATA, )
) Case No. 2:19-bk-04795-PS
)
Debtor. )
DANIELLE KRISTINE LAFATA, )
)
Movant, ) -MOTION TO AVOID
, VS. ) JUDGEMENT LIEN
) IMPAIRING DEBTOR’S
CAPITAL FUND I, LLC and ) EXEMPTION UNDER
CAPITAL FUND II, LLC ) 11 U.S.C. § 522()
)
Respondent. )
)

 

1. Movant filed her Chapter 7 Bankruptcy on April 22, 2019.

2. Judgment was obtained in the Superior Court of Maricopa County, in favor of the
Respondent and against the Movant under case number CV2017-056108.

3. Said judgement was for a real estate deficiency judgment in the amount of
$71,894.85 including costs and fees.

4. The Respondent, CAPITAL FUND I, LLC and CAPITAL FUND II, LLC, has
recorded a Judgement Lien with the County Recorder of Maricopa County, on May 16, 2018,
Recording No: 20180374336. See attached Exhibit “A”.

5. Said lien is a Judicial Lien and avoidable under 11 U.S.C. Section 522(f).

6. This lien will impair exemptions to which the Debtor is entitled, under 11 U.S.C.

Section 522 (f)(1), if not avoided.
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WHEREFORE, Movant respectfully asks this court:

a) Foran order avoided the judgment lien recorded with the Recorder of Maricopa
County, on May 16, 2018, Recording No: 20180374336;

b) that each party to bear their own fees and costs;

c) for such other and further relief as this Court deems just and equitable.

DATED this 5" day of _June_, 2019.

 

COX LAW OFFICES

/s/ Dwayne Farnsworth #13209
Dwayne Farnsworth

Jeffrey Cox
Attorney for Debtor
EXHIB

 

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WHEN RECORDED MAIL TO:
CAPITAL FUND 1, LLC

7890 E. McClain Drive
Scottsdale, AZ 85260

 

CAPTION HEADING Judgment

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CYNTHIA L. JOHNSON (BAR # 14492) APY 4. Woad, Deputy
LAW OFFICE OF CYNTHIA L. JOHNSON RTIFIED C

11640 E. Caron Street
Scottsdale, Arizona 85259
Phone: (480) 381-7929

Email: cynthia@jsk-law.com

 

Attorney for Plaintiff

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF MARICOPA

CAPITAL FUND I, LLC and CAPITAL Case No.: CV2017-056108
FUND II, LLC, Arizona Limited Liability
Companies,

Plaintiff, JUDGMENT
VS

FOX REMODELING, LLC, an Arizona
Limited Liability Company; MICHAEL
LAFATA and JANE "DOE LAFATA,
husband and wife, - Unofficial Document

 

Defendants.
This matter having come before the Court on Plaintiff's Motion for Judgment by
Default, pursuant to Rule 55 (b) ARCP and Defendants having failed to Answer, plead or
otherwise defend as provided for by the Rules of Civil Procedure within the statutory
time, and good cause appearing:
IT IS HEREBY ORDERED that Plaintiffs Motion for Judgment by Default is
granted;
IT IS FURTHER ORDERED granting Judgment in favor of the Plaintiff, Capital

Fund II, LLC against Fox Remodeling, LLC and Michael LaFata and Jane Doe LaFata aka .

Danielle K. LaFata as follows:

 
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Principal Amount: $ 67,486.13

Taxable Costs: $ 506.22
Attorneys Fees: 3,902.50
Total Judgment Amount $ 71,894.85

- IT IS FURTHER ORDERED that interest shall accrue on the principal amount of
$67,486.13, and attorney fees and costs in the amount of $4,408.72 at the rate of 5.50%
per annum from the date of Judgment until paid in full.

DATED this 2 day of March, 2018

 

Steven Holding
Commissioner 9f the Maricopa County Superior Court

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